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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

 SALIM HAJIANI,
      Plaintiff,
          v.                                     CIVIL ACTION FILE
                                                 NO. 1:17-CV-567-TWT

 HT HACKNEY COMPANY,

      Defendant.

                                           ORDER


         This is an employment discrimination action. It is before the Court on the

Report and Recommendation [Doc. 5] of the Magistrate Judge recommending

dismissing the action for failure to state a claim. Although the Plaintiff claims to have

filed an amended complaint, there is not one filed on the docket. The Court approves

and adopts the Report and Recommendation as the judgment of the Court. This action

is DISMISSED.

         SO ORDERED, this 12 day of April, 2017.



                                       /s/Thomas W. Thrash
                                       THOMAS W. THRASH, JR.
                                       United States District Judge


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